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3                             UNITED STATES DISTRICT COURT
4
                           NORTHERN DISTRICT OF CALIFORNIA
5
                                       OAKLAND DIVISION
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7
      GENTEX CORPORATION and INDIGO
8     TECHNOLOGIES, LLC,

9                        Plaintiffs,              Case No. 4:22-cv-03892-YGR

10    THALES VISIONIX, INC.,                      DECLARATION OF ELLISEN
                                                  SHELTON TURNER IN SUPPORT OF
11                       Involuntary Plaintiff,   JOINT MOTION TO DISMISS AND
                                                  REPLY IN SUPPORT OF MOTION TO
12          v.                                    DISMISS

13    META PLATFORMS, INC. and META
      PLATFORMS TECHNOLOGIES, LLC,
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                         Defendants.
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     TURNER DECLARATION IN SUPPORT OF MOTION TO               CASE NO. 4:22-CV-03892-YGR
     DISMISS AND REPLY ISO MOTION TO DISMISS
         Case 4:22-cv-03892-YGR Document 154-1 Filed 02/07/24 Page 2 of 3



 1          I, Ellisen Shelton Turner, do hereby declare as follows:
 2          1.      I am an attorney licensed to practice law in the State of California and am a partner
 3   with the law firm of Kirkland & Ellis LLP, located at 2049 Century Park East, Suite 3700, Los
 4   Angeles, CA 90067.       I am counsel for Defendants Meta Platforms, Inc. and Meta Platform
 5   Technologies, LLC (collectively, “Meta” or “Defendants”) in the above-captioned action. I have
 6   personal knowledge of the matters set forth below and if called and sworn as a witness, I could and
 7   would testify competently to the facts set forth herein.
 8          2.      I make this declaration in support of voluntary plaintiffs Gentex Corporation
 9   (“Gentex”) and Indigo Technologies, LLC (“Indigo”) (collectively, “Plaintiffs”) and Defendants’ Joint
10   Motion to Dismiss and their Reply in Support of the Joint Motion to Dismiss.
11          3.      Exhibit A to the Joint Motion to Dismiss (Dkt. 139-1, filed under seal at Dkt. 137-4) is
12   a true and correct copy of the 2024 Settlement Agreement between Plaintiffs and Defendants.
13          4.      Exhibit B to the Joint Motion to Dismiss (Dkt. 139-2, filed under seal at Dkt. 137-5) is
14   a true and correct copy of the 2023 Term Sheet signed between Plaintiffs, Defendants, and involuntary
15   plaintiff Thales Visionix, Inc. (“Thales”).
16          5.      Exhibit C to the Joint Motion to Dismiss (Dkt. 139-3, filed under seal at Dkt. 138-3) is
17   a true and correct copy of Thales’s Responses And Objections To Meta’s First & Second Sets Of
18   Interrogatories (Nos. 1-14 And 15), dated January 20, 2023.
19          6.      Exhibit D to the Reply in Support of the Joint Motion to Dismiss is a true and correct
20   copy of email correspondence from Meredith Martin Addy to me, dated December 26, 2023.
21          7.      I declare under penalty of perjury under the laws of the United States of America that
22   the foregoing is true and correct to the best of my knowledge.
23          Executed this 7th day of February 2024 in Los Angeles, California.

24                                                  /s/ Ellisen Shelton Turner
25                                                  Ellisen Shelton Turner

26                                                  Counsel for Defendants

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      TURNER DECLARATION IN SUPPORT OF MOTION TO          1               CASE NO. 4:22-CV-03892-YGR
      DISMISS AND REPLY ISO MOTION TO DISMISS
        Case 4:22-cv-03892-YGR Document 154-1 Filed 02/07/24 Page 3 of 3



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                                     SIGNATURE ATTESTATION
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            Under Local Rule 5-1(i)(3), I attest that I have obtained concurrence in the filing of this
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     document from the other signatory.
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6    Dated: February 7, 2024
                                                  Matthew S. Warren
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      TURNER DECLARATION IN SUPPORT OF MOTION TO      2                CASE NO. 4:22-CV-03892-YGR
      DISMISS AND REPLY ISO MOTION TO DISMISS
